UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA
Criminal No.

V.

)
)
.
INSYS THERAPEUTICS, INC., )
)
)
)

Defendant

DEFERRED PROSECUTION AGREEMENT

 

The United States Attorney’s Office, by its attorney, Andrew E. Lelling, United
States Attorney for the District of Massachusetts (the “United States”) and Defendant,
Insys Therapeutics, Inc., (“Insys”), a Delaware corporation with its principal place of
business in Chandler, Arizona, hereby enter into the following Deferred Prosecution
Agreement (“Agreement”):

1. Charges: Insys consents to the filing in the United States District Court for
the District of Massachusetts of an Information charging it and its wholly-owned operating
subsidiary, Insys Pharma, Inc. (“Insys Pharma”), tit five counts of mail fraud, in violation
of Title 18, United States Code, Section 1341. Specifically, the Information charges Insys
with having devised and intending to devise a scheme and artifice to defraud, and for
obtaining money and property by means of materially false and fraudulent pretenses,
representations and promises, and for the purpose of executing such scheme and artifice
and attempting to do so, depositing and causing to be deposited matters and things, to wit,
checks to practitioners, to be sent and delivered by the United States Postal Service and

private and commercial interstate carriers as set forth below:
 

Count Check Issue Date Description of Mailing

 

 

 

 

 

1 11/21/2013 Check No. 801 for $1,200 issued by Defendant
2 11/25/2013 Check No. 935 for $2,000 issued by Defendant
3 01/23/2014 Check No. 1550 for $1,000 issued by
Defendant
4 03/20/2014 Check No. 2408 for $2,000 issued by
. Defendant
Check No. 25662 for $1,000 issued by

 

 

 

 

 

| Insys knowingly waives its right to indictment on these charges-and agrees to venue of the
case in the District of Massachusetts. Insys further knowingly waives any applicable
statute of limitations and any legal or procedural defects in the Information.

Zu Acceptance of Responsibility: | Insys accepts and acknowledges
responsibility for its conduct and that of its employees as set forth in the Statement of Facts
attached hereto as Exhibit A and incorporated herein by reference (the “Statement of
Facts”). Ifthe United Sates, pursuant to Paragraph 8, initiates a prosecution that is deferred
by this Agreement against Insys, Insys agrees that it will neither contest the admissibility
of the Statement of Facts, nor contradict in any such proceeding the facts contained within
the Statement of Facts. Insys waives and forgoes any right under the United States
Constitution, Rule 410 of the Federal Rules of Evidence, Rule 11(f) of the Federal Rules
of Criminal Procedure, or any other rule, that any statements made by or on behalf of Insys
prior or subsequent to this Agreement, or any leads derived therefrom, shall be
inadmissible, suppressed, or otherwise excluded from evidence at any judicial proceeding

arising from this Agreement.
Be | Subsidiary Plea: Insys’s wholly-owned operating subsidiary, Insys
Pharma, Inc. (“Insys Pharma”), will plead guilty in the United States District Court for the
District of Massachusetts to all five counts of mail fraud set forth in the festheomertien (the
“Plea Agreement”).

4. Forfeiture Amount: As a result of Insys’s conduct, including the conduct
set forth in the Statement of Facts, the parties agree that the United States could institute a
civil and/or criminal forfeiture action against certain funds held by Insys and that such
funds would be forfeitable pursuant to Title 18, United States Code, Section 981 and Title
28, United States Code, Section 2461(c). Insys hereby acknowledges that at least
$28,000,000 were proceeds of the mail fraud scheme described in the Statement of Facts,
and that such conduct violated Title 18, United States Code, Section 1341. As part of the
Plea Agreement, Insys Pharma agrees to pay to the United States the sum of $30,000,000:
$28,000,000 in forfeiture (the “Forfeiture Amount”) and a fine of $2,000,000. Insys hereby
agrees it shall be jointly and severally liable with Insys Pharma for the Forfeiture Amount.
Insys further agrees that the Forfeiture Amount shall be considered substitute res for the
purpose of forfeiture to the United States pursuant to Title 18 United States Code, Section
981, and Title 28, United States Code, Section 2461(c), and Insys releases any anal all
claims it may have to such funds.

3: Forfeiture Payments: Insys agrees that the Forfeiture Amount plus any

associated transfer fees will be paid by Insys according to the following schedule:

° $3 million, plus interest, shall be due within ten days of the Insys Pharma
sentencing. .
e $5 million, plus interest, shall be due one year after the Insys Pharma

sentencing date.
@ $5 million, plus interest, shall be due two years after the Insys Pharma
sentencing date.

e $5 million, plus interest, shall be due three years after the Insys Pharma
sentencing date.

° $5 million, plus interest, shall be due four years after the Insys Pharma
sentencing date.

© $5 million, plus interest, shall be due five years after the Insys Pharma
sentencing date.

If Insys fails to make any payments due in connection with the Forfeiture amount for any
reason, the Forfeiture Amount shall become immediately due and payable.

6. Deferral of Prosecution: In consideration of Insys’s remedial actions to
date and its willingness to: (a) acknowledge and accept responsibility for its actions; (b)
have its subsidiary Insys oe plead guilty to the crimes charged in the Information; (c)
cooperate in the criminal investigation in the District of Massachusetts; (d) terminate the
conduct set forth in the Statement of Facts; (e) continue its cooperation with the United
States as stated in Paragraph 7; (f) demonstrate its future good conduct and full compliance
with federal law; and (g) comply with the obligations set forth herein, including in
Paragraphs 4 through 5:

a. Deferred Prosecution: The United States agrees that it will
recommend to the Court that prosecution of Insys on the Information be deferred for the
duration of this Agreement and shall not seek to prosecute Insys, its subsidiaries, affiliates,
successors, or assigns for any act within the scope of, or related to, the Statement of Facts,
the Information, the subject of the criminal investigation in the District of Massachusetts,
or facts currently known to the United States regarding sales, promotion and marketing
practices of Insys during the term of the Agreement, with the exsertion of thé Plea

Agreement outlined in Paragraph 3.
b. The Term: This Agreement is effective for a period beginning on the
date on which the Information is filed, and ending 60 months from that date (the “Term”).
Insys expressly waives any and all rights to a speedy trial pursuant to the Sixth Amendment
of the United States Constitution for the Term of this Agreement. Moreover, Insys agrees:
* (1) to join the Government in seeking to exclude, pursuant to Title 18, United States Code,
Section 3161(h)(2), the Term of this Agreement from the time within which trial of the |

‘offense charged in the Information must commence, for the purpose of allowing Insys to
demonstrate its good conduct; and (2) to waive any rights to a speedy trial under Federal
Rule of Criminal Procedure 48(b).

C. Extension of the Term: Insys agrees that, in the event the United
States determines in its sole discretion that Insys has knowingly and materially violated
any provision of this Agreement, an extension of the Term of the Agreement may be
imposed by the United States, in its sole disevation, for up to an additional 12-month period,
without prejudice to the right of the United States to proceed as provided in Paragraph 8
below. Any extension of the Agreement extends all terms of the Agreement.

d. Completion of the Term: The United States shall, if Insys is in full
compliance with all of its obligations under this Agreement, within thirty (30) days of the
expiration of the Term of this Agreement set forth above in Paragraphs 6(b) and (c), or
earlier at the discretion of the United States, seek dismissal with prejudice of the
Information filed against Insys pursuant to Paragraph 1, and this Agreement shall expire
and be of no further force or effect. The United States further agrees not to file charges in

the future against Insys relating to the Statement of Facts, the Information, the subject of
the criminal investigation in the District of Massachusetts, or facts currently known to the
United States regarding sales, promotion and marketing practices of Insys.

vs Cooperation and Compliance: As part of this Agreement, Insys agrees
that it shall comply with the following terms:

a. Cooperation: Insys agrees to cooperate fully with the United States,
and any agency thereof, regarding any matter of which Insys has knowledge or information
in any federal investigation, trial, or other proceeding of its current and former officers,
agents, and employees, on the subject matter arising from conduct: (1) covered by the
Information and'Statement of Facts; (2) that was the subject of the criminal investigation;
or (3) currently known to the United States regarding sales, promotion, and marketing
practices in connection with its drug Subsys. As part of its cooperation, Insys will provide
documents, records, and/or other tangible evidence not protected by any applicable .
privilege or protection regarding matters about which the United States may inquire and
identify knowledgeable directors, officers, employees, agents, and/or representatives to
provide information, materials, and testimony. Insys will maintain and expeditiously
produce any non-privileged documents, records, and/or other tangible evidence requested
by the United States in eanneetion with any federal investigation, trial, or other proceeding
of its current and former owners, officers, agents, and employees.

b. Employees: Insys will use its good faith efforts to make available
its current and former directors, officers, employees, sonilearita, representatives, and
agents when requested by the United States to provide additional information and materials
concerning this investigation or related inquiries, to testify (including sworn testimony

before a grand jury or in a judicial proceeding), and to be interviewed by law enforcement
authorities provided that the testimony sought is not protected by any applicable privilege
or protection.

é. Government Use of Information: The United States will not use, in
any criminal or civil case, any self-incriminating information provided by Insys pursuant
to its cooperation that was not previously known to the United States, or any information
directly or indirectly derived therefrom, except in (i) a prosecution or other proceeding for
perjury, making-a false statement, or obstruction of justice; (ii) a prosecution or other
proceeding for any act of violence or act of terrorism; (iii) a prosecution or other proceeding
relating to any violation of the Internal Revenue Code; (iv) any prosecution or other
proceeding permitted herein as a result of failure by Insys to comply with the terms of this
Agreement.

d. Evidence Sharing: With respect to any information, testimony,
documents, records, or other tothe evidence provided to the United States pursuant to
this Agreement, Insys consents to any and all disclosures, subject to applicable law and
regulations, to other governmental authorities of such materials that the United States, in
its sole discretion, shall deem appropriate.

é. Legal Compliance: Insys agrees to fully comply with federal law
with respect to the marketing, selling, and distribution of its drug products, including the
Food, Drug, and Cosmetic Act (“FDCA”), Title 21, United States Code, Sections 331, et.
seq.; acts involving federal health care programs, Title 42, United States Code, Sections
1320a-7(a) and 1320a-7(b); and, the Health Insurance Portability and Accountability Act

of 1996 (“HIPAA”), Title 42, United States Code, Sections 1320d-6(a) and 6(b).
iE. Compliance Program: Insys agrees it will continue to implement
compliance procedures and training designed to ensure that all of Insys’s directors, officers,
employees, agents, or representatives fully comply with federal laws and regulations
related to the marketing, selling, and distribution of its deag products.

g. | Corporate Integrity Agreement: Insys agrees to abide by any. and
all requirements of any Corporate Integrity Agreement and Conditional Exclusion Release
by and between Insys and the Office of Inspector General of the United States Department
of Health and Human Services regarding remedial measures or other required actions
related to the conduct outlined in the Statement of Facts.

h. | Civil Settlement: — agrees to abide by any and all requirements
of any civil settlement reached with the United States Department of Justice of certain civil
claims related to the conduct outlined in the Statement of Facts regarding remedial
measures or other required actions related to the conduct outlined in the Statement of Facts.

1. Notification: Insys agrees to notify the United States of any
governmental criminal, civil, administrative, or regulatory investigation of or action
against Insys or its current directors, officers, employees, agents, or representatives related
to Insys’s compliance with federal laws and regulations related to the marketing, selling,
and distribution of its drug products.

8. Breach of the Agreement: Ifthe United States determines that Insys has
committed a willful and material breach of any provision of this Agreement, the United
States shall provide written notice to Insys’s counsel of the alleged breach and provide
Insys with a two-week ported from the date of receipt of said notice, or longer at the

discretion of the United States, in which to make a presentation to the United States to
demonstrate that no breach has occurred or, to the extent applicable, that the breach is not
willful or material, or has been cured. The United States agrees to consider such
explanation in determining whether to institute a prosecution of Insys. The parties
expressly understand and agree that if Insys fails to make the above-noted presentation
within such time period, it shall be presumed that Insys is in willful and material breach of
this Agreement. The parties further understand and agree that the United States’ exercise
of discretion under this paragraph is not subject to review in any court or tribunal outside
the Department of Justice and the United States Attorney’s Office for the District of
Massachusetts. In the event of a breach of this Agreement that results in a prosecution,
such prosecution may be premised upon any information provided by or on behalf of Insys
to the United States or any investigative agencies, whether prior to or subsequent to this
Agreement, and/or any leads derived from such information, including the attached
Statement of Facts, unless otherwise agreed to by the United States and Insys in writing at
the time the information was provided to the United States.

9. Waiver of Rights: Insys hereby further expressly agrees that within six (6)
months of a willful and material breach of this Agreement by Insys, any violations of
federal law that were not time-barred by the applicable statute of limitations as of the date
of this Agreement, including any claims covered by the tolling agreement signed by the
parties, and that: (a) relate to the Statement of Facts; or (b) were hereinafter discovered by
the United States, may in the sole discretion of the United States be charged against Insys,
notwithstanding the provisions or expiration of any applicable statute of limitations. In the
event of a willful and material breach, Insys expressly waives: any challenges to the venue

or jurisdiction of the United States District Court for the District of Massachusetts; any
right to be charged by an Indictment returned by a grand jury; and agrees to be prosecuted
on the Information filed in this matter or a superseding Information arising from the facts
presented in the Statement of Facts.

10. Requirement to Obey the Law: Ifthe United States determines during the
term of this Agreement that Insys has committed any federal crime after the date of the
signing of this Agreement, Insys shall, in the sole discretion of the United States, thereafter
be subject to extacentic for any federal crimes of which the United States has knowledge,
including but not limited to the conduct described in the Statement of Facts. The discovery
by the United States of any purely historical criminal conduct that did not take place during
the term of the Agreement will not constitute a breach of this provision.

11. Parties Bound by the Agreement: This Agreement and all provisions set
forth herein bind Insys, which agrees to ensure that its wholly-owned subsidiaries comply
with the requirements and obligations set forth in this Agreement. It is further understood
that this Agreement and all provisions set forth herein are binding on the United States. It
is further understood that this Agreement does not bind any federal agencies, or any state
or local authorities, although the United States will bring the cooperation of Insys and its
compliance with its other obligations under this Agreement to the attention of federal, state,
or local prosecuting offices or regulatory agencies, if requested by Insys or its attorneys.
Nothing in this Agreement restricts in any way the ability of the United States, any other
federal department or agency, or any state or local government from proceeding criminally,
civilly, or administratively, against any current or former directors, officers, employees,
agents, or representatives of Insys or against any other entities or individuals. The parties

to this Agreement intend that the Agreement does not confer or provide any benefits,

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privileges, immunities, or rights to any other individual or entity other than the parties
hereto.

12. Severability: With the exception of Paragraph 17 of the Agreement titled
“Bankruptcy and No Successor Liability,” any provision of this Agreement which is
prohibited or unenforceable shall be ineffective to the extent of such prohibition or
unenforceability without invalidating the remaining provisions hereof.

13. Public Statements: Insys expressly agrees that it shall not cause to be
made, through its attorneys, board of directors, agents, officers, employees, consultants or
authorized agents (including, contractors, subcontractors, or representatives), including
any person or entity controlled by any of them, any public statement contradicting the
acceptance of responsibility by Insys set forth above or the facts described in the Statement
of Facts. Any such public statement by Insys, its attorneys, board of directors, agents,
officers, employees, consultants, contractors, subcontractors, or representatives, including
any person or entity controlled by any of them, shall, subject to the cure rights of Insys set
forth below, constitute a willful and material breach of this Agreement as governed by
Paragraph 8 of this Agreement, and Insys would thereafter be subject to prosecution
pursuant to the terms of this Agreement. The decision of whether any public statement by
any such person contradicting the acceptance of responsibility by Insys set forth above or
the facts described in the Statement of Facts will be imputed to Insys, for the piitnose af
determining whether Insys has breached this Agreement, shall be in the sole discretion of
the United States. If the United States determines that Insys has made a public statement
contradicting its acceptance of responsibility or ang fact contained in the Statement of

Facts, the USAO shall so notify Insys. Upon the United States’ notification to Insys of a

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public statement by any such person that in whole or in part contradicts the acceptance of
responsibility by Insys set forth above or the facts described in the Statement of Facts,
Insys may avoid breach of this Agreement by publicly repudiating such statement within 5
business days after notification by the United States. Insys shall be permitted to raise
defenses and to assert affirmative claims in other proceedings relating to the matters set
forth in the Statement of Facts provided that such defenses and claims do sat contradict, in
whole or in part, a statement contained in the Statement of Facts. This paragraph does not
apply to any statement made by any present or former officer, director, employee, or agent
of Insys in the course of any criminal, regulatory, or civil case initiated against such
individual, unless such individual is speaking on behalf of Insys. Subject to this paragraph,
Insys retains the ability to provide information or take legal positions in litigation or other
regulatory proceedings in which the United States is not a party.

14. _ Insys agrees that if it or any of its direct or indirect subsidiaries or affiliates
issues a press release or holds ee press conference in connection with this Agreement,
Insys shall first consult the United States to determine: (a) whether the text of the release
or proposed statements at the press conference are true and accurate with respect to matters
between the United States and Insys; and (b) whether the United States has any objection
to the release.

15. Conduct Covered by Agreement: It is further understood that this
Agreement does not relate to or cover any conduct by Insys other than for any act within
the scope of the Statement of Facts, the Information, the subject of the criminal
investigation in the District of Massachusetts, or facts currently known to the United States

regarding sales, promotion and marketing practices of Insys.

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16. Public Filing: Insys and the United States agree that this Agreement (and
its attachments) and an Order deferring prosecution shall be publicly filed in the United
States District Court for the District of Massachusetts.

17. Bankruptcy and No Successor Liability: Notwithstanding anything to the
contrary in the Agreement, (i) the filing of a petition under the Bankruptcy Code by Insys
or Insys Pharma shall not constitute a breach, default, failure to perform, or violation of the
Agreement, (ii) the failure of Insys or Insys Pharma to make any payments or perform any
other obligation hereunder after becoming a debtor under the Bankruptcy Code shall not
constitute a breach, default, failure to perform, or violation of the Agreement, (iii) nothing
in the Agreement shall be binding on, or shall be deemed to apply in any matter whatsoever
to, any successor to Insys or Insys Pharma or any of their respective affiliates, including,
but not limited to, any reorganized debtor under a chapter 11 plan under the Bankruptcy
Code or a purchaser of any of Defendant’s or Insys’s or their affiliates’ assets whether
under the Bankruptcy Code or otherwise (a “Successor’), and (iv) the United States agrees
that it shall not take any action against a Successor based on acts or omissions committed
by Insys or Insys Pharma or any of their affiliates prior to the date hereof. Notwithstanding
anything contained in this paragraph, the filing of a petition under the Bankruptcy Code
does not relieve Insys of its obligation to pay the Forfeiture Amount under this Agreement.
If Insys fails to make any payments due in connection with the Forfeiture Amount for any
reason, the Forfeiture Amount shall become immediately due and payable as stated in
Paragraph 5. Nothing contained in this paragraph shall be construed to prohibit the

‘operation of the basic tenet of the Bankruptcy Code that a bankruptcy filing operates as the

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automatic acceleration of the principal amount of all claims against a debtor. This
paragraph shall survive termination of this Agreement.

18. Complete Agreement and Notice: This Agreement sets forth all the terms
of the Agreement between Insys and the United States. There are no promises, agreements,
or conditions that have been entered into other than those —" set forth in this
Agreement, and none shall be entered into and/or be binding upon Insys or the United
States unless signed by the United States, Insys’s attorneys, and a duly authorized
representative of Insys. This Agreement supersedes any prior promises, agreements, or
. conditions between Insys and the United States. Insys agrees that it has the full legal right,
power, and authority to enter into and perform all of its obligations under this Agreement
and it agrees to abide by all terms and obligations of this Agreement as described herein.

19. Any notice, certification, resolution, or report to the United States under
this Agreement shall be given by personal delivery, overnight delivery by a recognized
delivery service, or registered or certified mail, to:

Chief, Health Care Fraud Unit

U.S. Attorney’s Office for the District of Massachusetts
John Joseph Moakley Federal Courthouse

One Courthouse Way, Suite 9200

Boston, MA 02210

20. Any notice to Insys under this Agreement shall be given by personal
delivery, overnight delivery by a recognized delivery service, or registered or certified
mail, addressed to:

Insys Therapeutics, Inc.
Attention: General Counsel
1333 South Spectrum Blvd

Suite 100
Chandler, AZ 85286

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Geoffrey E. Hobart

Covington & Burling LLP

One CityCenter

850 Tenth Street, NW

Washington, DC 20001-4956
21. Notice shall be effective upon actual receipt by the United States or Insys.
22. This Agreement, to become effective, must be signed by all of the parties

listed below. No promises, agreements, terms, or conditions other than those set forth in

this Agreement will be effective unless memorialized in writing and signed by all parties

or confirmed on the record before the Court.

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ACKNOWLEDGMENT ON BEHALF OF INSYS THERAPEUTICS, INC.

I, Andrece Housley, Chief Financial Officer, the duly authorized representative of Insys
Therapeutics, Inc., hereby expressly acknowledge the following: (1) that I have read this
entire Agreement as well as the other documents filed herewith in conjunction with this
Agreement, including the Information and Statement of Facts; (2) that I have had an
opportunity to discuss this Agreement fully and freely with Insys’s counsel, Covington &
Burling LLP; (3) that Insys fully and completely understands each and every one of the
terms of this Agreement; (4) that Insys is fully satisfied with the advice and representation
provided to it by its counsel, Covington & Burling LLP; (5) that I am authorized, on behalf
of Insys, to enter into this Agreement; and (6) that Insys has signed this Agreement
knowingly and voluntarily.

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Insys Therapeutics, Inc.

  

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DATE

 

‘Antioca Housley —
Chief Financial Officer
Insys Therapeutics, Inc.

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ACKNOWLEDGMENT BY COUNSEL OF INSYS THERAPEUTICS, INC.

1, Geoffrey E. Hobart, the attorney representing Insys Therapeutics, Inc., hereby
expressly acknowledge the following: (1) that J have reviewed and discussed this
Agreement with my client; (2) that] have explained fully each one of the terms of the
Agreement to my client; (3) that I have answered fully each and every question put to me
by my client regarding the Agreement; and (4) that 1 believe my client fully and completely
understands all of the Agreement’s terms,

_b/4/ ait Ceuloy 5. Neate

Geoffrey7E. Hobart
Covington & Burling LLP

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ON BEHALF OF THE GOVERNMENT

ANDREW E. LELLING
UNITED STATES ATTORNEY

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Amanda P.M. Strachan
Assistant U.S. Attorney

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STATEMENT OF FACTS FOR INSYS THERAPEUTICS, INC. DEFERRED
PROSECUTION AGREEMENT AND INSYS PHARMA, INC, PLEA AGREEMENT

\ Defendant, Insys Therapeutics, Inc., its agents and subsidiaries, (collectively “Insys”)
hereby agrees and stipulates that at all times relevant to the Information pending against it in the
United States District Court for the District of Massachusetts, in United States v. Insys
Therapeutics, Inc., et al., Criminal No. 19-cr-10191-RWZ, the following is true and accurate:

1. Insys is a Delaware corporation that maintains a principal place of business in
Chandler, Arizona. At all times relevant to the Information, Insys Pharma, Inc. was a wholly
owned subsidiary of Insys Therapeutics, Inc. and was its main operating subsidiary.

2. Insys developed and owns a drug called SUBSYS® (hereinafter “Subsys”), a spray
formulation of fentanyl to be applied under a patient’s tongue (also called a sublingual spray). The
United States Food and Drug Administration (“FDA”) approved Subsys in or about January 2012
for the management of breakthrough pain in patients 18 years of age or older with cancer who are
already receiving and who are already tolerant to opioid therapy for their underlying persistent
cancer pain. Subsys is in a category of drugs called Transmucosal Immediate Release Fentanyl
(“TIRF”) products, which includes other fentanyl-based rapid onset opioids that competed with
Subsys.

3. From in or about March 2012 to the present, Insys marketed and sold Subsys in
interstate commerce, including in the District of Massachusetts.

4, Subsys could only be prescribed by a licensed medical practitioner who was

registered with the DEA and able to prescribe opioids in the usual course of professional practice

for a legitimate medical purpose.
5. Market demand for Subsys was driven in large part by the practitioners who wrote
prescriptions for their patients. Practitioners willing to write prescriptions for Subsys had a number
of competing medications from which to choose. In addition to other brand name TIRE drugs,
practitioners could also prescribe a generic TIRF medicine.

6. Depending on the dosage and number of units prescribed, a prescription for Subsys
often cost thousands of dollars each month. Most patients relied on commercial insurance and/or
publicly funded insurance, including Medicare and Medicaid, to subsidize the cost of taking
Subsys.

Ye Insys knew that insurers would not authorize payment for Subsys if the prescription
was written in exchange for a bribe, or kickback, and was not medically necessary. In general,
patients had to have a specific medical diagnosis before the insurer, including Medicare, would
authorize payment for Subsys. Many insurers would not pay for Subsys until the patient had tried
and failed certain other preferred medications.

8. Beginning in August 2012 and continuing until June 2015, Insys paid bribes to
certain practitioners as part of a scheme to defraud patients and insurers, including Medicare. Insys
paid the bribes in order to induce certain practitioners to write unnecessary Subsys prescriptions.

9. Specifically, nen used pharmacy data acquired from third parties to identify
practitioners who either prescribed high volumes of rapid-onset opioids or who had demonstrated
a capacity to poesetie large volumes of rapid-onset opioids.

10. Insys paid bribes to certain practitioners to prescribe Subsys through its Speaker
Program. The Speaker Program was a marketing program that purported to increase brand

awareness of Subsys by sponsoring peer-to-peer educational lunches and dinners, Purportedly in
exchange. for a practitioner educating other prescribers about Subsys, Insys agreed to pay the
speaker a fee, also referred to as an “honoraria,” for each speaking event.

11. The Speaker Program included certain speaker practitioners who had the potential
to prescribe Subsys, and was used to induce them to write more, medically unnecessary
prescriptions in exchange for payment of money by Insys in the form of honoraria. Insys fashioned
the payments to these certain practitioners as speaker fees, or honoraria, in order to hide the fact
that they were in fact bribes paid to induce certain practitioners to write Subsys prescriptions.

12. Rather than educational gatherings, Speaker Program events often did not involve
any education or presentations about the drug. Frequently, Speaker Program events did not have
attendees who were licensed to prescribe Subsys, but rather included support staff employed by
the speaker. Many speaker events had no attendees at all. When this occurred, Insys’s sales
representatives were directed by management to falsify the names of attendees and their signatures
on sign-in sheets. Sham Speaker Program events occurred at restaurants within the District of
Massachusetts and elsewhere, and functioned as bribes in the form of free dinners for speakers,
friends, and, at times, family, and served as a vehicle to pay a bribe to the speaker in the disguised
form of an honoraria.

13, In a number of instances, high-level officers, directors, exeontives, managers, and
the executive redrnan of Insys’s Board of Directors expressly required a practitioner to write a
minimum number of Subsys prescriptions, write prescriptions at a minimum dosage, and write
prescriptions for a minimum number of units of Subsys, in order for the speaker to continue
receiving the bribe, that is, the so-called honoraria, for sham events. For all speakers during certain
periods, Insys tracked its.so-called return on investment: it measured the effect of the payments,

which functioned as bribes to certain practitioners, on the speaker’s prescribing habits, and,
correspondingly, the effect of the bribes on the revenue that each bribed speaker generated for it.
Ifa speaker failed to meet the minimum prescription and return on investment requirements, Insys
took Speaker Program payments away from practitioners, or reduced the total amount of Speaker
Program payments paid to practitioners, unless and until the practitioner wrote a satisfactory
number of new enveurbitiome, or raised the dosage and volume of existing Subsys prescriptions.
Each new prescription, refill, or existing prescription written for a higher dose of Subsys generated
greater income to Insys.

14.‘ Insys agreed with certain practitioners, including but not limited to certain
practitioners in New Hampshire and Illinois, to conduct Speaker Programs, which were solely a
mechanism to pay bribes to these practitioners for prescribing Subsys.

15.. One such practitioner targeted by Insys and to whom Insys, through certain
employees, offered bribes was a physician’s assistant (“P.A.”) who practiced with a pain clinic
based in Somersworth, New Hampshire.

16. During the first year that Subsys was on the market, the P.A. did not write any
Subsys prescriptions. In or about April 2013, a sales representative working on behalf of Insys
catered a lunch at the P.A.’s pain clinic. In or about June 2013, the P.A. wrote his first prescription —
for Subsys. The sales representative encouraged the P.A. to submit his resume for consideration
in the Insys Speaker Program, which the P.A. did on the same day.

17. Approximately one month later, Insys approved the P.A. as a speaker on the
recommendation of Insys’s then Vice President of Salles.

18. The P.A. and Insys’s sales representative frequently discussed new patients for

whom the P.A. could prescribe Subsys.
19, On or about November 14, 2013, the sales representative arranged a Speaker |
Program event at a restaurant in Portsmouth, New Hampshire at which the P.A. was the purported
Subsys speaker. No other medical practitioners who could prescribe Subsys were present at the
dinner, and the P.A. did not make a presentation about the drug. The signature of physician’s
assistant S.T. was forged on a sign-in sheet to make it appear S.T. was present at the dinner when
he was not.

20. On - about November 21, 2013, Insys issued check number 801 to the P.A. in
the amount of $1,200 as payment in part for the November 14, 2013 Speaker Program event.

Zils On or about November 19, 2013, the sales representative arranged a Speaker
Program event at a second restaurant in Portsmouth, New Hampshire at which the P.A. was the
purported Subsys speaker. No other practitioners who could prescribe Subsys were present at the
dinner, and the P.A. did not make a presentation about the drug. The signature of nurse practitioner
K.T. was forged on a sign-in sheet to make it appear K.T. was present at the dinner when she was
not.

22. On or about November 25, 2013, Insys issued check number 935 to the P.A. in
the masa of $2,000 as payment in part for the November 19, 2013 Speaker Brae event.

Zao. On or about January 13, 2014, the sales representative arranged a Speaker Program
event at a restaurant in Boston, Massachusetts at which the P.A. purportedly spoke about Subsys.
No other medical practitioners who could prescribe Subsys were present at the dinner, and the P.A.
did not make a presentation about the drug. The signatures of physician’s assistant L.C. and
medical assistant P.M. were forged on a sign-in sheet to make it appear they were present at the

dinner when they were not.
24. — Insys issued check number 1550 to the P.A. in the amount of $1,000 as payment
in part for the January 13, 2014 Speaker Program event.

25. On March 11, 2014, Insys arranged a Speaker Program event at a second sexiceunt
in Boston, Massachusetts at which the P.A. was the purported speaker. No other medical
professionals who could prescribe Subsys weré present, and the PA. did not make a presentation

‘about the drug. The only attendees at the — were the P.A., a relative of the P.A., and Insys’s
sales representative. The signature of physician’s assistant L.C. was forged on a sign-in sheet to
make it appear she was present at the dinner ites, she was not.

26. On or about March 20, 2014, Insys issued check number 2408 to the P.A. in the
amount of $2,000 as payment in part for the March 11, 2014 Speaker Program event.

2d On July 28, 2014, Insys arranged a Speaker Program event at a third restaurant in
Portsmouth, New Hampshire at which the P.A. was the purported speaker. No other medical
practitioners who could prescribe Subsys were present at the dinner, and the P.A. did not make a
presentation about the drug. The signatures of SM. and T.C. were forged on a sign-in-sheet to
make it appear they were present at the dinner when they were not.

28. On or about August 4, 2014, Insys’s agent, on behalf of oo issued check
number 25662 to the P.A. in the amount of $1,000 as payment in part for the July 28, 2014
Speaker Pro gram event. | |

29. . Between August 2013 and October 2014, Insys’s employees invited the P.A. to
approximately 44 Speaker Program events at — restaurants and other locations. For each of

the events, the P.A. was paid a fee of between $500 and $2,000. Insys paid the P.A. approximately

$44,000 for purportedly speaking about Subsys at Speaker Program events when, in fact, he had
not. Instead, they were bribes paid by Insys to the P.A. for the purpose of inducing the P.A. to
write medically unnecessary Subsys prescriptions.

30. | Had the insurers known that Insys paid bribes to the P.A. that caused the P.A. to
write medically unnecessary Subsys prescriptions, the insurers would not have authorized payment
for those prescriptions.

31.  Insys caused each of the bribes in the form of the above-described honoraria checks
to be sent and delivered in interstate commerce by the United States Postal Service and by private
and commercial interstate el

32, The payments made by Insys to the P.A. for sham Speaker Program events, as
described in this Statement of Facts, violated Title 18, United States Code, Section 1341.

33. Insys agreed with and paid certain other practitioners, including a practitioner in
Illinois, to conduct sham Speaker Program events that were solely to induce this practitioner and
certain others to prescribe Subsys, in violation of Title 18, United States Code, Section 1341.

34.  Insys’s net revenues were approximately $95.8 million in 2013 due to sales of

Subsys. That amount rose to approximately $219.5 million in 2014.
